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Form CGFCRD3 (6/5/2020)

                               United States Bankruptcy Court
                                      Southern District of Florida
                                        www.flsb.uscourts.gov
                                                                                Case Number: 19−24331−PGH
                                                                                Chapter: 13

In re:
Ralph Levi Sanders Jr.
561 SW 60 Ave.
Plantation, FL 33317

SSN: xxx−xx−6171


                                       NOTICE OF HEARING


NOTICE IS HEREBY GIVEN that a hearing will be held on June 18, 2020 at 09:30 AM,

by TELEPHONE. To participate call, CourtCall (888) 882−6878

An advance reservation to participate in the hearing is required, and must be made no later than
3:00 p.m., one business day before the date of the hearing. Reservations should be arranged online
at https://www.courtcall.com If a party is unable to register online, a reservation may also be made
by telephone at (888) 882−6878, or email request to assist@courtcall.com. Please include the date
of the court appearance in the email subject line.

**EFFECTIVE IMMEDIATELY** Until further notice or unless directed otherwise, the court will ONLY hold
hearings by TELEPHONE. Individuals not represented by counsel will be able to use the telephonic
services FREE of charge. All attorneys shall advise their clients NOT to appear at the courthouse.

to consider the following:

Emergency Motion to Withdraw as Attorney of Record Filed by Debtor Ralph Levi Sanders Jr.
(Johnson, Michael) (77)

THIS MATTER HAS BEEN SET ON THE COURT'S MOTION CALENDAR FOR A NON−EVIDENTIARY
HEARING. THE ALLOTTED TIME FOR THIS MATTER IS TEN MINUTES.

THE MOVANT (OR MOVANT'S COUNSEL if represented by an attorney) SHALL SERVE A COPY OF
THIS NOTICE OF HEARING and, unless previously served, the above−described pleading on all required
parties within the time frames required by the Bankruptcy Rules, Local Rules, or orders of the Court, and
shall file a certificate of service as required under Local Rules 2002−1(F) and 9073−1(B). Any party
who fails to properly serve any pleadings or other paper may be denied the opportunity to be heard
thereon.

PLEASE NOTE: Photo identification is required to gain entrance to all federal courthouse facilities.
Electronic devices, including but not limited to cameras, cellular phones (including those with cameras),
iPads, tablets, pagers, personal data assistants (PDA), laptop computers, radios, tape−recorders, etc., are
not permitted in the courtroom, chambers or other environs of this court. These restrictions (except for
cameras not integrated into a cell phone device) do not apply to attorneys with a valid Florida Bar
identification card, attorneys who have been authorized to appear by pro hac vice order and witnesses
subpoenaed to appear in a specific case. No one is permitted to bring a camera or other prohibited
electronic device into a federal courthouse facility except with a written order signed by a judge
and verified by the United States Marshal's Service. See Local Rule 5072−2.

Dated: 6/8/20                                         CLERK OF COURT
                                                      By: Christina Romero
                                                      Courtroom Deputy
